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                                                    Page 1                                          Page 3
                                                              1
               UNITED STATES DISTRICT COURT                   2         STIPULATIONS
               EASTERN DISTRICT OF NEW YORK                   3
               2:20-CV-04026                                  4     IT IS HEREBY STIPULATED AND AGREED, by
               --------------------x
                                                              5   and among counsel for the respective
               SANTOS HERNANDEZ, EMANUEL De JESUS
               LIEVANO, AND MIQUEL ANTONIO VASQUES,
                                                              6   parties hereto, that the filing, sealing,
                          Plaintiffs,                         7   and certification of the within deposition
                     -against-                                8   shall be and the same are hereby waived;
               ROSSO UPTOWN, LTD., MICHAEL TIZZANO,           9
               MASSIMO GAMMELLA,                             10     IT IS FURTHER STIPULATED AND AGREED
                          Defendants.                        11   that all objections, except as to form of
               --------------------x                         12   the question, shall be reserved to the
                                                             13   time of the trial;
                          200 Broadhollow Road
                                                             14
                          Melville, New York
                                                             15     IT IS FURTHER STIPULATED AND AGREED
                          July 22, 2022                      16   that the within deposition may be signed
                          10:00 a.m.                         17   before any Notary Public with the same
                                                             18   force and effect as if signed and sworn to
                    EXAMINATION BEFORE TRIAL of              19   before the Court.
               MASSIMO GAMMELLA, a Defendant in the          20                 ***
               above-entitled action, held at the above
                                                             21   M A S S I M O G A M M E L L A, the
               time and place, pursuant to Order, taken
               before Anne Simpson, a shorthand reporter     22     witness herein, having first been duly
               and Notary Public within and for the State    23     sworn by Anne Simpson, a Notary Public
               of New York.                                  24     of the State of New York, was examined
                                                             25     and testified as follows:


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           1                                                  1             M. GAMMELLA
           2     A P P E A R A N C E S:                       2             MR. MOSER: Good morning, Mr.
           3                                                  3       Gammella. I am going to have some
           4                                                  4       questions for you today.
           5       MOSER LAW FIRM, P.C.                       5             Do you understand that the
           6         Attorneys for Plaintiffs                 6       oath that you just took was the same
           7           5 East Main Street                     7       oath that you would take if you were
           8           Huntington, New York 11747             8       in court testifying?
           9       BY: STEVEN MOSER, ESQ.                     9             THE WITNESS: Yes.
          10                                                 10             MR. MOSER: And you
          11                                                 11       understand that that oath that you
          12                                                 12       took in that oath you promised to tell
          13       MASSIMO GAMMELLA,                         13       the truth and be truthful in all your
          14         Pro Se                                  14       responses today?
          15           24 Manor Haven Boulevard              15             THE WITNESS: Yes.
          16           Port Washington, New York             16             MR. MOSER: Do you know of
          17           11050                                 17       any reason why you would not be able
          18                                                 18       to testify truthfully or honestly
          19                                                 19       today?
          20                                                 20             THE WITNESS: No.
          21                                                 21             MR. MOSER: Are you suffering
          22                                                 22       from any memory deficit or other
          23                                                 23       condition which affects your memory?
          24                                                 24             THE WITNESS: No.
          25                                                 25             MR. MOSER: Would you said

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           1           M. GAMMELLA                               1             M. GAMMELLA
           2      that you have a good memory?                   2   it was before this lawsuit.
           3           THE WITNESS: Average, normal              3           I don't know if it's convenient. The
           4      memory.                                        4   house was in foreclosure. That's why I had to
           5           MR. MOSER: Okay.                          5   sell. That's another --
           6   EXAMINATION BY                                    6       Q. Okay. Have you ever owned any other
           7   MR. MOSER:                                        7   real estate, other than 664 Flanders?
           8      Q. Please state your name for the              8       A. In the last years? Are you talking
           9   record.                                           9   about ever?
          10      A. Massimo Gamella.                           10       Q. Ever.
          11      Q. Please state your address for the          11       A. Ever, yes. I mean, I used to do --
          12   record.                                          12   before my restaurant twelve years ago, I used
          13      A. 24 Manor Haven Boulevard, Port             13   to do actual real estate and I owned a few
          14   Washington, New York 11050.                      14   things. But it was just not to own it was a
          15      Q. Have you ever been known by any other      15   business thing. Used to buy a few things, fix
          16   names?                                           16   it, sold it. But then all that went upsidedown
          17      A. No.                                        17   and I moved to the restaurant and also been
          18      Q. The address that you gave as your          18   working regular twelve years. So there was a
          19   residence, 24 Manor Haven Boulevard, do you      19   long time ago, yes.
          20   reside at that address?                          20       Q. Do you recall how much the Berrara
          21      A. Now, yes. Not before.                      21   case was settled for?
          22      Q. What is at that address?                   22       A. I don't want to guess. It was not a
          23      A. That's my workplace and that's why I       23   large amount. Maybe 16,000, 17,000 around
          24   am staying right now. I used to live someplace   24   there. Honestly I don't really exactly recall.
          25   else obviously.                                  25   But it's got to be somewhere around there.

                                                   Page 6                                                Page 8
           1            M. GAMMELLA                              1             M. GAMMELLA
           2      Q. So you are living at the restaurant?        2   Maybe that much.
           3      A. In the back, yes, I rent a little           3       Q. Do you know an individual by the name
           4   place.                                            4   of Santos Hernandez?
           5      Q. Where did you live previously?              5       A. I believe that's the fellow that
           6      A. Well, I lived at my old house a long        6   worked for me at the Uptown that has been
           7   time ago. 664 Flanders Drive, Valley Stream,      7   closed now for years ago.
           8   New York 11581. And I would be moving in with     8       Q. Are you speaking about Rosso Uptown
           9   my girlfriend now.                                9   Limited?
          10      Q. When did you sell the Valley Stream        10       A. Yes.
          11   house?                                           11       Q. Do you know an individual by the name
          12      A. Two, three years ago at least. Two         12   of Emanuel De Jesus Lievano?
          13   or three years ago. I really don't recall it.    13       A. Yes. Actually yeah, he worked as
          14   But it's got to be two, three years ago. I       14   well there for a short period of time. And he
          15   don't recall the exact date.                     15   came by to my place of work a few months ago.
          16      Q. Did you sell 664 Flanders before or        16   I don't know why. I don't know. We asked him
          17   after you were sued by Mr. Hernandez?            17   why he was there. We have a lot cameras there.
          18      A. Hernandez was this lawsuit? Because        18   And he was recording. We have our own video
          19   we had another lawsuit previous.                 19   talking about, wondering why was he there. And
          20      Q. Correct. There was one other -- you        20   he said he was picking up his girlfriend's
          21   are talking about Berrara.                       21   lunch and had no idea about the lawsuit. I am
          22      A. Berrara, we went through the lawsuit.      22   like okay. So he don't belong here. But we
          23   I will still living there at that time and it    23   finally told him okay, and then he left.
          24   was three years ago. And then I sold it after    24            According to him then -- I don't know
          25   that. But we settled with Berrara. So I guess    25   if it's truth or not -- I don't believe


                                                                                     2 (Pages 5 to 8)
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           1           M. GAMMELLA                                1           M. GAMMELLA
           2   anything anybody says anyway -- he was there to    2      A. Yes. This is the document that he
           3   just pick up lunch and he swears up and down       3   signed because he didn't want nothing to do
           4   that he has nothing to do with the lawsuit. He     4   with the lawsuit.
           5   was there to pick up lunch with his girlfriend     5      Q. Is your signature on this document?
           6   and he swears up and down that he had nothing      6      A. Yes. (Pointing.) Right here.
           7   to do with the lawsuit that we talked about        7      Q. And so you -- above the name Michael
           8   because we asked him. And that was it.             8   Tizzano is your signature?
           9       Q. Do you know an individual by the name       9      A. No. This is my signature.
          10   of Miquel Antonio Vasques?                        10   (Pointing.) Massimo Gammella.
          11       A. Yes. Miquel Vasques, I know him as a       11      Q. I apologize. Above Massimo Gammella
          12   figure but his name changed. So we didn't know    12   is your signature?
          13   if it was the same person. These guys             13      A. Yes.
          14   sometimes they do use different names. And it     14      Q. Did you see Mr. Vasques sign this
          15   takes us awhile just to investigate. But yes.     15   document?
          16   I think that name Uptown, yes. But then he        16      A. Yes.
          17   stopped working. And that was it.                 17      Q. You were present when he signed that
          18       Q. Does Mr. Vasques work for you              18   document?
          19   presently?                                        19      A. We were at the place, yes.
          20       A. Yes. Right. Now Mr. Vasques works          20      Q. You were present when he signed that
          21   there. And obviously as you know the story, he    21   document?
          22   wants to sign and he wants nothing to do with     22      A. Yes.
          23   anybody, not even me, talking about this case.    23      Q. And at what physical location was he
          24       Q. So just to summarize Santos                24   when he signed that document?
          25   Hernandez, Emanuel De Jesus Lievano, and Miquel   25      A. I am pretty sure it was at Pepe

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           1           M. GAMMELLA                                1            M. GAMMELLA
           2   Antonio Vasques all worked at Rosso Uptown         2   Rosso.
           3   Limited at one time or another?                    3      Q. Who was present, besides you and
           4      A. Yes.                                         4   Mr. Vasques, when he signed this document?
           5      Q. And Mr. Vasques works for you at Pepe        5      A. It was only the two of us. I gave
           6   Rosso?                                             6   him the thing. He signed. I signed. He said
           7      A. Yes. But at the time, like I said,           7   he want nothing to do. He doesn't want to talk
           8   it was a different name. So we didn't know.        8   about it. He's been very upset with the whole
           9   But yes, now he is working there.                  9   situation. He didn't even want to talk to us
          10      Q. Okay. Pepe Rosso is a restaurant            10   about it because he actually told us he would
          11   that you own that is located on Manor Haven       11   leave if we kept on pushing. I guess this was
          12   Boulevard?                                        12   something that should have been done by the
          13      A. Yes. That's correct.                        13   way.
          14      Q. I am going to show you a document           14      Q. Did he sign this on June 6th of 2022?
          15   that I would like to be marked as 21.             15      A. I believe so, yes. That was the date
          16           (A one-page document was                  16   we signed it. We told him about it. I said
          17      marked as Plaintiff's Exhibit 21 for           17   you send us this thing. You send us and we
          18      identification, as of today's date.)           18   told for him to sign it and we did.
          19      Q. I'm going to show you what's been           19      Q. Did you explain anything about this
          20   marked as Plaintiff's Exhibit 21. Do you          20   document to Mr. Vasques before he signed it?
          21   recognize that document? (Handing.)               21      A. Only know that I told him this was
          22      A. (Reviewing.)                                22   from the attorney, and that he was -- he didn't
          23      Q. Take a moment. Read the document to         23   want nothing to do with the thing. I told him
          24   yourself. And then you can let me know whether    24   that if he agrees to sign the document.
          25   or not you recognize the document.                25      Q. Does he speak English?


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           1           M. GAMMELLA                                1           M. GAMMELLA
           2      A. Very little. But I do speak fluent           2   it?
           3   Spanish.                                           3      A. I don't recall.
           4      Q. Does he read English?                        4      Q. Do you have any documents with his
           5      A. Honestly I cannot say. He probably           5   signature --
           6   does very little, but I'm not going to put         6      A. His idea --
           7   words into his mouth.                              7           MR. MOSER: She can only take
           8      Q. Did you translate this document for          8      down one of us at a time. So it's
           9   him before he signed is?                           9      important that I wait for you to be
          10      A. I explain it to him verbally. I told        10      done and then you wait for me to done
          11   him that's what it is. This is a release like     11      so that it flows a little bit easier.
          12   he requested, he didn't want nothing to do with   12      Q. Do you have any documents with
          13   the lawsuit. That he doesn't want to be           13   Mr. Vasques' signature on them?
          14   involved. He doesn't walk to talk about it.       14      A. No.
          15   And you send me a paper for him to release for    15      Q. So when he was hired by you, did he
          16   the whole thing. And he said yes and he signed    16   execute a withholding form for taxes?
          17   it. That's all. I didn't read it word by          17      A. He signed few documents. Probably
          18   word, no. But I told him what the document        18   the payroll company might have it or my --
          19   said, what this is about.                         19      Q. I would like you to listen to my
          20      Q. Did you give him this document at any       20   question. Because my question is either -- can
          21   time?                                             21   be answered with a yes or no.
          22      A. No. I mean after signed?                    22          When you hired him, did he sign
          23      Q. Yes.                                        23   payroll documents?
          24      A. No.                                         24      A. He signed a few documents, yes.
          25      Q. Did he --                                   25      Q. Have you ever searched for those

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           1            M. GAMMELLA                               1           M. GAMMELLA
           2      A. Do we have a copy? Yes, we do have a         2   documents?
           3   copy.                                              3     A. No.
           4            MR. MOSER: Just wait for me               4     Q. Do you have access to those
           5      to finish my question.                          5   documents?
           6      Q. Does Mr. Vasques have a copy of this         6     A. I don't know if I even have them. I
           7   document?                                          7   don't even have them right now. I really don't
           8      A. Not that I know. But at work -- the          8   know. I can't answer yes or no because I don't
           9   copy is at work.                                   9   know if I have them. This guy has been with us
          10      Q. Does Mr. Vasques --                         10   for a long time. I don't know what I have.
          11      A. Personally no, I don't think so.            11     Q. Do you withhold taxes from
          12      Q. It's just a simple yes or no                12   Mr. Vasques' paycheck?
          13   question. Does Mr. Vasques have a copy of this    13     A. Yes.
          14   document?                                         14     Q. Did he give you permission to do
          15      A. No.                                         15   that?
          16      Q. Did you ever give this document to          16     A. What?
          17   Mr. Vasques to take home before he signed it?     17     Q. Did he give you permission to do that
          18      A. No. We show him at the place. He            18   by signing a tax form?
          19   want to sign it. He signed it. And then we        19     A. He signed it straight to the payroll
          20   send it back to you -- fax it, e-mail it to       20   company, yes. He signed it. Yeah. We told
          21   you, whatever. That was it. We made a copy of     21   him to sign and send to payroll.
          22   it. That was it.                                  22     Q. Who hired the payroll company?
          23      Q. Do you have a copy of his ID?               23     A. I did.
          24      A. At work we should, yeah.                    24     Q. Do you have access to the payroll
          25      Q. Does that ID have his signature on          25   records?


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           1           M. GAMMELLA                                1           M. GAMMELLA
           2      A. Not present. If I request, yes.              2   if Rosso Uptown was missing food or supplies
           3      Q. If you asked the payroll company for         3   that they would be brought from Pepe Rosso to
           4   the documents that they have --                    4   Rosso Uptown.
           5      A. When they have it, yes.                      5      A. Yeah, that's true. Some time we run
           6      Q. -- are they obligated to give it to          6   out of stuff, went down, bring it back, and
           7   you?                                               7   then we had to take it back.
           8      A. Yes. If I send that request if it's          8      Q. Would you say that Pepe Rosso had
           9   mine, they should.                                 9   more supplies than Rosso Uptown?
          10      Q. What were the hours of operation of         10      A. It was -- it wasn't more. It was
          11   Rosso Uptown?                                     11   just some time we run out of stuff Uptown. The
          12      A. From, I believe, it was 12:00 to            12   place was smaller and like I said things not
          13   9:00.                                             13   going well. Because it was more we didn't
          14      Q. So 12:00, noon --                           14   order -- would couldn't order as much.
          15      A. 12:00 noon to 9:00.                         15   Sometimes we run out of stuff and we went to
          16      Q. P.m.?                                       16   get and bring it back.
          17      A. 9:00 p.m.                                   17      Q. Who did the purchasing for Rosso
          18      Q. How many days per week?                     18   Uptown?
          19      A. There were at one point five and then       19      A. Me or my chef, whoever it was at the
          20   six. We switched it over five to six days a       20   time, and there was a guy that was in charge.
          21   week.                                             21   Renato. I forget his last name. He was the
          22      Q. Was it first five or first six?             22   manager there. A Brazilian fellow. He worked
          23      A. Six.                                        23   for me for almost until the end when we lost
          24      Q. Which day was it closed?                    24   and we change the names. But then he moved out
          25      A. It was Monday.                              25   of the country, went back to Brazil or Japan.


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           1            M. GAMMELLA                               1            M. GAMMELLA
           2      Q. And then when it switched over to            2   I don't know where he moved. But he was the
           3   five days a week, which two days was it closed?    3   one doing the purchasing for -- the food was
           4      A. Monday and Tuesday, but because              4   the chef most of the time.
           5   things weren't going well. So we kept on           5      Q. So Renato did the purchasing for
           6   trying to go back and forth but most of the        6   Rosso Uptown?
           7   time it was six.                                   7      A. Yes. Not everything, but yes.
           8      Q. When you say "we", who are you               8      Q. Did you do any purchasing for Rosso
           9   referring to?                                      9   Uptown?
          10      A. The guys; me and my wife at the time        10      A. Yes, of course.
          11   who tried to help me, my son. But mostly it       11      Q. Did you do purchasing for Pepe Rosso?
          12   was I that was, you know, in a lot of stress to   12      A. I do certain things, certain things.
          13   try to run this place before we closed it down.   13      Q. Did you ever combine the purchase
          14      Q. So when you say we, you are not             14   orders for the supplies in order to get
          15   referring you and Mr. Tizzano?                    15   discounts?
          16      A. Not at all.                                 16      A. No. No. Always kept separate
          17      Q. Did Mr. Tizzano ever own any portion        17   because it's two separate things. No.
          18   of Rosso Uptown?                                  18      Q. Who named Rosso Uptown? Who gave it
          19      A. No. Never.                                  19   that name?
          20      Q. Did you ever tell anyone that he            20      A. I went through a few names. But it
          21   owned a portion of Rosso Uptown?                  21   was me, my kids, a few friends -- they just
          22      A. No. Not really. They supposed but           22   came up with the name. It's my corporation.
          23   he never owned it. I never told them that --      23   So it's in my name. I had to agree with it.
          24   anyone that Michael Tizzano owned my place, no.   24   Yes, it's my name, Rosso Uptown.
          25      Q. Mr. Tizzano testified that sometimes        25      Q. You named Rosso Uptown?


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           1           M. GAMMELLA                                1            M. GAMMELLA
           2       A. Yes.                                        2   even before us.
           3       Q. What does -- does Rosso mean                3       Q. So part of the reason why you named
           4   anything?                                          4   Rosso Uptown similarly to Pepe Rosso was that
           5       A. Red.                                        5   so people would know that you were also the
           6       Q. So you named it basically Red Uptown?       6   owner of Rosso Uptown as well?
           7       A. Well, this was a friend and family          7       A. Not really. They know already I was
           8   come up with the ideas, yeah.                      8   the owner anyway. But it was just a name that
           9       Q. You named the restaurant Red Uptown?        9   I liked because I like red. Like I say, Pepe
          10       A. Yes.                                       10   Rosso because it's red. Red in Italian, rosso.
          11       Q. And at that time you owned a               11   I like everything -- all my stuff that I do, I
          12   restaurant by the name of Pepe Rosso, correct?    12   try to keep the same, you know. Red pepper,
          13       A. Yes.                                       13   red uptown, red whatever I am going to do next.
          14       Q. What does Pepe Rosso mean?                 14   I like the idea.
          15       A. Black pepper.                              15       Q. In Port Washington is the area where
          16       Q. So you named -- you had one                16   Rosso Uptown located considered uptown?
          17   restaurant that was named Red Pepper, correct?    17       A. Not really. We call Uptown because
          18       A. Yes.                                       18   it's like up, elevated from the water. You
          19       Q. And then you created another               19   know, Port Washington if you know is a lot of
          20   restaurant and you called that Red Uptown,        20   it's by water. And Main Street is, like, up on
          21   correct?                                          21   the hill. So it's not uptown. It's just -- I
          22       A. Yes.                                       22   think up. It's up from the bottom. It's not
          23       Q. Why did you do that?                       23   uptown. It was on Main Street as you know.
          24       A. Not for any special reason. Because        24   It's just the sign on the street there.
          25   it sounds good. Plus, we change the name of       25       Q. Is there any other reason, besides


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           1            M. GAMMELLA                               1            M. GAMMELLA
           2   Red Uptown a few times after that. It was          2   the fact that you like the color red, that you
           3   11-Zero Uptown. It was changed a few times.        3   named both of these restaurants --
           4   We changed the names a few times.                  4      A. Well, I liked the name red --
           5      Q. So other than the fact that it               5      Q. Let me finish the question please.
           6   sounded good, was there any reason why you had     6   Besides the fact that you like the color red or
           7   one restaurant called Red Pepper and then you      7   the name red, is there any other reason why you
           8   named another called Red Uptown?                   8   named these two restaurants red or Rosso?
           9      A. Well, it sounds good because me as           9      A. Not particularly. Not really.
          10   people know me in Port Washington, I want to      10      Q. Was there ever a record made of when
          11   maybe kind of tell them that I was there too,     11   products or materials were borrowed from one
          12   that it was my place. But other than that,        12   restaurant to the another?
          13   there was not really any other special meaning.   13      A. Repeat the question? Was any
          14      Q. So people who were familiar with you,       14   records?
          15   were familiar with Rosso Uptown?                  15      Q. Yes.
          16      A. Well, I figured that they would, you        16      A. No.
          17   know, know that it's my place, yeah.              17      Q. How would you know what materials or
          18      Q. And Pepe Rosso -- did Pepe Rosso have       18   foods supplies were brought from one restaurant
          19   a loyal following?                                19   to another?
          20      A. I would say, yes.                           20      A. We talking about a bag of tomatoes
          21      Q. Did it have -- was it a known entity        21   or, you know, five onions. We are talking
          22   in the community?                                 22   about small items that you run out. Maybe
          23      A. Yes. It was known for another               23   paper cups we will say. It's not like we
          24   previous name. But yes. It's been there that      24   borrowed a big something. It's just kitchen
          25   restaurant for twenty-five years, twenty years    25   stuff, like small things.


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           1           M. GAMMELLA                                1           M. GAMMELLA
           2      Q. How would you know if materials were         2   3rd of 2022. It's a seven-page document.
           3   brought from one location to the other? Would      3   (Handing.) I would like you to take a moment
           4   there be any record of that whatsoever?            4   to look through it.
           5      A. There would be no record because it          5      A. (Reviewing.) That's the lawsuit that
           6   would be me -- the chef tell me Massimo, we        6   we sued about.
           7   need a can of tomatoes. So I go down there. I      7      Q. Okay. I am going to direct your
           8   get the can of tomatoes, bring it up, use it.      8   attention to Page No. 5, the Document Request
           9   When we receive it from Uptown then I bring it     9   No. 1.
          10   back. That was it. There was not going to be      10      A. (Reviewing.) Okay.
          11   a record of me purchasing separate can of         11      Q. Did you actually search for documents
          12   tomatoes or whatever things.                      12   that were responsive to these requests?
          13      Q. So just to clarify there is no record       13      A. No.
          14   of the dates on which foods were brought from     14      Q. Did you ever search for documents
          15   one restaurant to another?                        15   that were responsive to Document Request No. 1?
          16      A. No.                                         16      A. No. Because there was no way for us
          17      Q. And there is no records indicating          17   to search.
          18   what was brought from one restaurant to the       18      Q. Did you ever search for documents in
          19   other?                                            19   response to Document Request No. 2?
          20      A. No.                                         20      A. (Reviewing.) No.
          21      Q. There is no record showing how              21      Q. And with regard to the remaining
          22   frequently food was brought from one restaurant   22   document requests, which are numbered 3 through
          23   to the other?                                     23   21, did you ever search for documents
          24      A. Nope. Not that I recall. By the way         24   responsive to those requests?
          25   if I may add, you know, this we talking about     25      A. (Reviewing.) No, because we couldn't


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           1           M. GAMMELLA                                1           M. GAMMELLA
           2   we closed already over three years. You            2   as I said.
           3   talking this about five, six, seven years ago      3      Q. Why couldn't you?
           4   back. As far as I recall no. The little            4      A. Well, because no less previous to
           5   items, definitely not a record.                    5   that we had a flood in the basement, which was
           6      Q. Who hired Santos Hernandez?                  6   where the office was. But even after that we
           7      A. I did. All the hiring was done               7   got basically as we didn't pay rent for months
           8   through me or Renato, the manager there.           8   we got -- I got kicked out. And my landlord
           9      Q. Who hired Emanuel De Jesus Lievano?          9   took everything out and it was gone.
          10      A. Same thing, either me or Renato.            10      Q. Okay. Did you ever have documents
          11   Renato was the manager there. Sometimes people    11   responsive to Document Request No. 5 at any
          12   stop by -- yes. In the end I made the             12   time?
          13   decision, yes.                                    13      A. (Reviewing.) We have some, yes.
          14      Q. Who had the authority to fire               14   Definitely. We were paying people, yeah.
          15   employees at Rosso Uptown?                        15      Q. So did you pay Hernandez and Lievano
          16      A. Me.                                         16   on the books?
          17      Q. Who managed Rosso Uptown?                   17      A. Yes.
          18      A. Me and this guy Renato as I told you.       18      Q. Through a payroll company?
          19      Q. Did you have ultimate decisionmaking        19      A. Some on the books, some they got paid
          20   authority over hiring and firing decisions at     20   off the books. But yes, they got paid I
          21   Rosso Uptown?                                     21   remember. As I recall it was on the books.
          22      A. Yes.                                        22      Q. Were they paid partially in cash and
          23      Q. I am going to show you a document           23   partially by check?
          24   that was previously marked as Plaintiff's         24      A. Mostly it was just payroll by check.
          25   Exhibit 8 at Mr. Tizzano's deposition of June     25      Q. Were they paid partially by cash and


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           1            M. GAMMELLA                              1            M. GAMMELLA
           2   partially by check or only by check?              2   whatever I had in that location, the leftover
           3      A. Only by check.                              3   stuff which I found some Chase documents. But
           4      Q. Which payroll company did you have?         4   that account was there which was withdrawn. I
           5      A. I don't recall. This is like eight          5   believe I even send it to you. Other than
           6   years ago.                                        6   that, I didn't find anything else.
           7      Q. Did you have the same payroll company       7      Q. Okay. Just to summarize, Rosso
           8   for that company that you did for Pepe Rosso?     8   Uptown had bank accounts?
           9      A. No.                                         9      A. Of course.
          10      Q. Did you ever make any attempt to find      10      Q. And where were those bank accounts
          11   out the name of the payroll company?             11   located?
          12      A. I did. I was trying to remember to         12      A. Chase. And I send you copies or the
          13   look for it. But no, I could not find anything   13   court. I did. But I do have few which it was
          14   which that was it.                               14   overdrawn.
          15      Q. Did you check with ADP to see if they      15      Q. Are you testifying today that you
          16   were handling your payroll?                      16   sent documents from Chase Bank to the court?
          17      A. ADP? No, I don't believe it was ADP        17      A. I am not -- I don't want to -- 100
          18   as the payroll.                                  18   percent. I do have it. So if I did, I don't
          19      Q. That's not my question. My question        19   know if I put it together with the stuff I sent
          20   is, did you ever check with ADP --               20   to the court. But if I didn't, I will. Which
          21      A. No, I didn't check with ADP                21   I do have. It is something that I have. I am
          22   because -- no. The answer is no.                 22   not going to deny it. It's only account
          23      Q. Did you ever check with Paychex to         23   records.
          24   see if they were handling your payroll?          24      Q. How did you pay the payroll company?
          25      A. At the time, no.                           25      A. They were paid through the Chase


                                                 Page 30                                                Page 32
           1           M. GAMMELLA                               1           M. GAMMELLA
           2      Q. Did you ever check with your                2   account.
           3   accountant to determine who was handling your     3      Q. So the Chase account would show who
           4   payroll?                                          4   the payroll company was?
           5      A. The accountant, no, I didn't check.         5      A. I am not even sure.
           6      Q. So you never told your accountant           6      Q. Wait a second.
           7   that you needed payroll records?                  7      A. Because if it says on the documents,
           8      A. Yes.                                        8   I will give it to you.
           9      Q. Okay. So I am talking about after           9      Q. I am not asking you what it says on
          10   you received this request for production of      10   the documents.
          11   documents, right, you called your accountant     11      A. No. It doesn't say the name. It
          12   and told him that you needed payroll records?    12   just says --
          13      A. Yes, that I might need. I got a            13      Q. So do you get copies of your checks?
          14   lawsuit thing.                                   14      A. No.
          15      Q. You might need?                            15      Q. Did you ever go to that bank and ask
          16      A. Yes.                                       16   them for copies of checks?
          17      Q. Okay. And what payroll records did         17      A. No.
          18   he give you?                                     18      Q. Did you ever ask them to tell you who
          19      A. I did not call after that. So I            19   the payroll company was that you were paying?
          20   didn't get anything.                             20      A. No. I didn't go to Chase, if I may
          21      Q. Okay. Tell me everything that you          21   add, because the bank account still was open
          22   did to try and find or locate documents in       22   and I owed money. I had no money to put it in
          23   response to these Document Requests Nos. 1       23   there. It was a big mess. That's why I didn't
          24   through 21.                                      24   go back. And it was still pending.
          25      A. The only thing I did, I look for           25      Q. So you intentionally did not go back


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           1           M. GAMMELLA                                1            M. GAMMELLA
           2   to the bank, even though you knew that they        2   paper that was in my car a couple of things
           3   might know who your payroll company; is that       3   from the bank that the thing was overdrawn.
           4   correct?                                           4   And I believe I saved it because it was the
           5      A. No. No. It's not correct.                    5   only thing I could find. Any other thing,
           6      Q. So when the bank pays one of your            6   payroll and everything else, I couldn't even
           7   vendors, they don't have a record of who they      7   remember the name of the company. I don't have
           8   pay?                                               8   any records of it.
           9      A. The vendors? No. The vendors was             9      Q. Do you know whether the bank has a
          10   paid through our checks, right. Our checks --     10   record of who your payroll company is?
          11   I made the check. They go out. The only thing     11      A. No.
          12   I have -- let me make it clear. The only thing    12      Q. They don't? Or you don't know?
          13   I have is some left over actually was it my car   13      A. I don't know. I don't know if they
          14   paper from the bank was the account statement.    14   have it.
          15   Then they was overdrawn. And that was it.         15      Q. Because you never checked, correct?
          16   There was no checks, no printed checks in         16      A. According to the paper that I could
          17   there, or the account or the name of anything.    17   see, no. So if they do have it, no. I don't
          18   That's all. And I show it to you.                 18   believe they do have a record.
          19      Q. Did you understand that you had an          19      Q. So you believe that your bank does
          20   obligation to go and find the records if for      20   not have a record of who your payroll company
          21   some reason you didn't have them in your          21   was?
          22   possession?                                       22      A. I don't believe so.
          23      A. Yeah. I didn't have them in my              23      Q. And what is that belief based upon?
          24   possession.                                       24   Why don't you think --
          25      Q. Yes. Do you understand that it was          25      A. Because after so many years, the


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           1            M. GAMMELLA                               1            M. GAMMELLA
           2   your obligation to go and find them?               2   thing is they don't keep even documents. I
           3      A. I did try to find them. Everything           3   mean, if the court tells them, I don't know.
           4   is gone. So what am I going to find?               4   But me, they not going to give it to me if they
           5      Q. Well, did you go to the bank?                5   do have after four, five years.
           6      A. No. Because the account has been             6       Q. So in your opinion banks just destroy
           7   closed for years.                                  7   records after four or five years?
           8      Q. Okay. Besides the fact that the              8       A. I do not know. I'm not an attorney.
           9   account was closed for years -- but you just       9   I do not know what they keep. How long they
          10   testified that it wasn't closed, it was           10   got to keep, I have idea. I know the account
          11   overdrawn and you didn't want to go there,        11   after a few years, even a year, that you got to
          12   right?                                            12   request and pay for it. So I have no idea.
          13      A. Yes.                                        13       Q. The accountant who -- I know you want
          14      Q. Which one is it?                            14   to give me explanations for everything. You
          15      A. Yes. But you talking about when the         15   can give explanations at the time of trial to
          16   account was open was eight years ago. When        16   the judge. If I ask you --
          17   that account was open, it was eight years ago.    17       A. The answer is no, I don't have
          18   Then in the end this is talking -- already it     18   records. My accountant didn't give me records.
          19   was closed -- we already close the place for      19   I do not have records. But I look for it in
          20   three years. So the account was already           20   paper and look for it in my computer for
          21   overdrawn and everything probably about four,     21   records, yes. I didn't find anything. The
          22   five years ago. We are talking about -- like      22   only thing I found was the court thing. That's
          23   you sound like this happening to me now. This     23   it.
          24   is like years ago.                                24       Q. You are still explaining and there is
          25           Anyway, that's only I found in the        25   no question.


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                                                   Page 37                                               Page 39
           1           M. GAMMELLA                                1           M. GAMMELLA
           2          The accountant that you used for            2     Q. So you understood when you got this
           3   Rosso Uptown, is that the same accountant that     3   request that it was your obligation to get
           4   you used for Pepe Rosso?                           4   records from your accountant?
           5      A. In the end, yes. In the beginning,           5     A. Well, I understood that I got to, you
           6   no. But in the end, yes, the same accountant       6   know, somehow --
           7   now.                                               7     Q. Sir?
           8      Q. Was that the same accountant that you        8     A. Yes.
           9   were using for your personal tax return as         9     Q. You understood when you got this
          10   well?                                             10   document that it was -- that you had a duty to
          11      A. Again, not in the beginning. But in         11   go to your accountant and get the records, if
          12   the end before we closed, yes.                    12   you could, correct?
          13      Q. Did you ever ask that accountant who        13     A. Yes.
          14   your payroll company was at Rosso Uptown?         14     Q. And you called him twice, correct?
          15      A. I did ask him. But he say he had to         15     A. Yes.
          16   investigate and look into it. I never got         16     Q. And he never got back to you?
          17   anything.                                         17     A. Yes.
          18      Q. Did you ever ask him for your payroll       18     Q. And for that reason you said you have
          19   records?                                          19   no documents?
          20      A. No. I asked him a few times but I           20     A. Yes.
          21   never got it. He never told me no, he             21     Q. Okay. Would the payroll company that
          22   couldn't -- I don't know if it's because he       22   you used have records?
          23   wasn't the one from the beginning. I never got    23     A. Payroll that I used then?
          24   it. I never got any papers. I never got any       24     Q. Does the payroll company that you
          25   payroll records.                                  25   used at Rosso Uptown still have payroll records

                                                   Page 38                                               Page 40
           1           M. GAMMELLA                                1           M. GAMMELLA
           2      Q. Do you understand that when you get a        2   for Mr. Hernandez?
           3   request for documents in federal court that you    3     A. No idea.
           4   have an obligation to go and get documents that    4     Q. Does the payroll company that you
           5   are in the possession of other people?             5   used still have payroll records for
           6      A. Well, I am not an attorney. I                6   Mr. Lievano?
           7   understood that I had to look for stuff, but       7     A. Do not know.
           8   meant physically whatever I could do, which I      8     Q. Does your accountant have payroll
           9   did. Which we have none. So I don't know what      9   records for Mr. Hernandez?
          10   else they want me to look for.                    10     A. Do not know.
          11      Q. Well, you didn't call your -- we've         11     Q. Does your accountant have records for
          12   established that you did not call your            12   Mr. Lievano?
          13   accountant, correct?                              13     A. I don't believe so. I do not know.
          14      A. No. I did call my accountant.               14     Q. Does your bank have records of checks
          15      Q. You called your accountant and after        15   paid to Santos Hernandez?
          16   you received this request and asked him for the   16     A. Do not know.
          17   documents that are responsive to that request?    17     Q. Does your bank have records of checks
          18      A. I only asked if he had any records of       18   payable to Mr. Lievano?
          19   the old years ago payroll. And he said he had     19     A. I don't believe so. And I do not
          20   to look into it, but I never got anything from    20   know.
          21   it. And that was it.                              21     Q. So when was Mr. Hernandez hired?
          22      Q. How many times did you speak to him?        22     A. I do not recall.
          23      A. Only two times maybe. That was three        23     Q. Can you give me any approximate date?
          24   years ago. I mean, this thing is dragging for     24     A. Approximate year. Maybe 2016. I
          25   years. Three years ago.                           25   can't guess. Like I said, it's been long time


                                                                                10 (Pages 37 to 40)
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           1           M. GAMMELLA                              1          M. GAMMELLA
           2   ago.                                             2      A. Yes. Like I say it wasn't long.
           3      Q. When was he -- was he fired?               3      Q. With regard to Mr. Santos Hernandez,
           4      A. They left.                                 4   if we had the payroll records, would they show
           5      Q. So he left? Or he was fired?               5   when Mr. Hernandez started working for you?
           6      A. He left.                                   6      A. Yes.
           7      Q. Do you know why he left?                   7      Q. And would they show when he stopped
           8      A. We are talking which one?                  8   working for?
           9      Q. Mr. Hernandez.                             9      A. They should, yes. But --
          10      A. Hernandez? Hernandez, this is Miquel      10      Q. Would they show how many hours per
          11   you talking about?                              11   week Mr. Hernandez worked?
          12      Q. Santos Hernandez.                         12      A. Yes, on the payroll, yes.
          13      A. Okay. I am getting confused.              13      Q. Would they show how many hours per
          14   Santos, I believe in the end before we closed   14   week Mr. Lievano worked?
          15   he left. We closed the place. Basically we      15      A. Yes. On the payroll, yes.
          16   closed down. So I don't remember if he left     16      Q. Would they show how much
          17   right before we closed or once we closed. We    17   Mr. Hernandez was paid per hour?
          18   had no choice. We got shut down. We went out    18      A. Yes. On the payroll, yes.
          19   of business.                                    19      Q. Would they show how much Mr. Lievano
          20      Q. When did you shut down?                   20   was paid per hour?
          21      A. I believe it was 2018. Three years        21      A. Yes.
          22   ago. Maybe September, October 2018 if my mind   22      Q. Would they also show Mr. Hernandez'
          23   tells me.                                       23   overtime compensation, if any?
          24      Q. How long did Santos Hernandez work        24      A. If any, which was any. But if any,
          25   for you?                                        25   yes.


                                                 Page 42                                               Page 44
           1           M. GAMMELLA                              1           M. GAMMELLA
           2      A. Less than two years, maybe few years.      2      Q. Would the payroll records also show
           3      Q. How long did Mr. Emanuel De Jesus          3   Mr. Emanuel De Jesus Lievano's overtime hours
           4   Lievano work for you?                            4   worked, if any?
           5      A. He was there months, not even a year.      5      A. If any, yes. They stated.
           6   Very short.                                      6      Q. So will you go and look for these
           7      Q. So can you describe Emanuel De Jesus       7   payroll records?
           8   Lievano for me in any way?                       8      A. I tried. I could make another good
           9      A. Describe him what; personally?             9   effort. Yes. Again, I will ask my accountant
          10      Q. Yes, how he looked.                       10   again if he finds anything out. This was years
          11      A. Yes, I told you he came by. I don't       11   back. I cannot promise anything. But I will
          12   know. Dark hair, skinny, darker skin.           12   try. I will try my best.
          13      Q. Would the payroll records, if we were     13      Q. You understand that the depositions
          14   able to obtain them, show when Mr. Lievano      14   of Mr. Hernandez and Mr. Lievano are upcoming,
          15   started working for you?                        15   correct?
          16      A. If we would have, yes. I believe he       16      A. Yes.
          17   started working for me a few years before we    17      Q. You received the request for
          18   closed. Maybe 2016.                             18   documents, which is Plaintiff's Exhibit 8, a
          19      Q. But the payroll records, if we had        19   year ago?
          20   them, would show the precise date he started    20      A. Yes.
          21   working; is that correct?                       21      Q. Is it fair to say that you haven't
          22      A. Yes, if we find the records, it           22   produced a single payroll document as of today?
          23   probably would.                                 23      A. I did not.
          24      Q. Would the records show when he            24      Q. Okay. So can you explain why not?
          25   stopped working?                                25      A. Like I said, to the best of my


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           1            M. GAMMELLA                               1            M. GAMMELLA
           2   ability, I tried. I looked through all the         2      A. Yes, that's what I meant.
           3   papers, whatever I have left. I called the         3      Q. And Renato is in Brazil we believe?
           4   accountant. He couldn't find anything. I           4      A. Or in Japan. He left the country two
           5   don't remember the name of the company we used.    5   or three years ago. He went back to his
           6   So -- and everything was -- we got kicked out      6   country. I can give you more information on
           7   of the place. So it was none for me to             7   him, if you would like, if I can find his last
           8   retrieve. That was it. I did try.                  8   name at least.
           9      Q. Do you know if you can get the               9      Q. As the employer of Mr. Miquel Antonio
          10   payroll records before my clients' depositions?   10   Vasques, do you have the authority to ask him
          11      A. Again, I will give it my best effort.       11   for his identification?
          12   I will call again to see if my accountant has     12      A. Yes, I suppose. I don't know about
          13   anything that I can go back those years to see    13   the law but, I suppose I do.
          14   who even it was. I give it my best effort.        14            MR. MOSER: I would ask on
          15   But I cannot guarantee anything. Because I        15      the record that you produce a copy of
          16   don't know.                                       16      his identification confirming that
          17      Q. Do you believe that you've made your        17      his -- with his signature, confirming
          18   best effort for the past year to locate and       18      that the signature matches the one on
          19   produce documents responsive to our request for   19      the document that you say he signed.
          20   documents?                                        20            MR. GAMMELLA: Will do.
          21      A. Yes. Because I already know -- I            21      Q. I am going to ask you a list of
          22   already told from way in the beginning that we    22   questions. If you could answer them with a yes
          23   were kicked out and never let back in the         23   or no, that's fine. If you believe you cannot
          24   place. And it was all gone.                       24   answer them with a yes or no, please let me
          25      Q. So how many hours per week did              25   know.

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           1           M. GAMMELLA                                1           M. GAMMELLA
           2   Mr. Hernandez work?                                2          Did you have the authority or the
           3      A. At those times I don't recall.               3   power to hire and fire Mr. Hernandez and
           4      Q. How many hours per week did                  4   Mr. Emanuel De Jesus Lievano?
           5   Mr. Emanuel De Jesus Lievano work when he          5      A. Yes.
           6   worked for you?                                    6      Q. Did you control the work schedules of
           7      A. I do not recall.                             7   Santos Hernandez and Emanuel De Jesus Lievano?
           8      Q. You said they never worked overtime          8      A. Cannot answer that completely because
           9   or rarely worked overtime?                         9   it was up to my manager as well. But yes,
          10      A. That I recall, no, they didn't work         10   together with my manager.
          11   overtime. Especially in the end when, I guess,    11      Q. So together with your manager you
          12   we were closing. There was no overtime.           12   controlled the work schedules of Mr. Hernandez
          13      Q. Are you aware of any individuals,           13   and Mr. Lievano?
          14   other than you, who would know how many hours     14      A. And the chef that was there. But
          15   Mr. Santos Hernandez was working?                 15   yes, I was in charge too.
          16      A. No.                                         16      Q. At the time that they worked for you,
          17      Q. Do you know of any other individuals,       17   did you maintain records of the employment of
          18   other than you, who would know how many hours     18   Santos Hernandez and Emanuel De Jesus Lievano?
          19   per week Emanuel De Jesus Lievano was working     19      A. If I you request records, meaning?
          20   when he worked for you?                           20   Payroll records or --
          21      A. As I restate, except Renato, this           21      Q. Employment records.
          22   Renato manger that was there that is no longer    22      A. Yes. It was just the payroll, yes.
          23   with us. But other than me, no.                   23      Q. Did you determine their rate of pay?
          24      Q. Other than Renato and you -- you and        24      A. Yes.
          25   Renato?                                           25      Q. Were you the owner of Rosso Uptown


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           1          M. GAMMELLA                                 1           M. GAMMELLA
           2   Limited?                                           2      A. That I am in the business, yes.
           3      A. Yes.                                         3      Q. What is spread of hours pay?
           4      Q. Did you have operational control over        4      A. Like I said, I am not -- how many
           5   Rosso Uptown Limited?                              5   hours you supposed to be working in through the
           6      A. Yes.                                         6   week. Which we basically -- sorry if I'm go
           7      Q. Were you a signatory on the bank             7   into explanation. We basically only worked
           8   accounts of Rosso Uptown Limited?                  8   forty hours if and most for each employee
           9      A. Yes.                                         9   because we were not that busy.
          10      Q. When I say "Mr. Hernandez", you             10      Q. What is your understanding of what
          11   understand I mean Santos Hernandez, correct?      11   spread of hours pay is?
          12      A. Yes, now. Because I get it confused         12      A. That if you go over a certain amount
          13   with Vasques. Santos Hernandez, that's the        13   of hours, they supposed to pay extra.
          14   one.                                              14      Q. Number of hours per way, per day?
          15      Q. You understand that when I've been          15      A. Per week or per day I suppose as far
          16   asking you about Mr. Hernandez, I have been       16   as I know. You can only work so many hours
          17   asking you about Mr. Santos Hernandez?            17   during the day. And if go you work more than
          18      A. Yes.                                        18   the regular hours, I guess you have to -- it's
          19      Q. Was Mr. Hernandez an employee of            19   supposed to get paid more.
          20   Rosso Uptown?                                     20      Q. How much more were they supposed to
          21      A. Yes.                                        21   be paid?
          22      Q. Do you know whether he was employed         22      A. I believe it's time and a half for
          23   from March 20th of 2016, until July 1st of        23   now or it was always.
          24   2018?                                             24      Q. After how many hours per week?
          25      A. As I recall he was employed around          25      A. I really don't recall then. But I


                                                  Page 50                                                Page 52
           1            M. GAMMELLA                               1           M. GAMMELLA
           2   2016, yes. I don't know if it's -- I don't         2   believe right now it's after forty.
           3   recall exactly the dates. But yes, he was          3      Q. Do you know how many hours per week
           4   employed through that period of time.              4   it was when you were the owner of Rosso Uptown?
           5      Q. Do you know what his scheduled hours         5      A. I don't recall. But it was less than
           6   were?                                              6   forty.
           7      A. I don't recall.                              7      Q. What was Mr. Lievano's work schedule?
           8      Q. Do you know what his title was?              8      A. I do not recall. He was part time.
           9      A. Yes. Dishwasher.                             9   That I know. He was only part time. I don't
          10      Q. Did you pay him a salary?                   10   recall his schedule.
          11      A. No.                                         11      Q. What was Mr. Lievano's title?
          12      Q. Did you ever pay him any amount in          12      A. Mostly helper, kitchen helper.
          13   cash?                                             13      Q. Was Mr. Emanuel De Jesus Lievano
          14      A. Not that I recall. Nope. Not me.            14   employed by Rosso Uptown?
          15      Q. Did you give him a wage notice or           15      A. Yes.
          16   other documents at the time that you hired him?   16      Q. Do you know if he was employed from
          17      A. We did.                                     17   August of 2016 until July 1st of 2018?
          18      Q. That was a form that was issued by          18      A. I do not recall. I recall there was
          19   the New York State Department of Labor, the       19   much less than that. He was only part time.
          20   official wage notice?                             20   And he worked less than that period. But I
          21      A. Tells you the wage at the time was          21   cannot recall the exact dates. He did get
          22   whatever it was, $10.00, $9.00. They sign and     22   employed, yes. The answer is yes. For the
          23   we kept it all. And like I said, it's gone.       23   period that long, I do not recall.
          24      Q. Are you familiar with something             24      Q. 24 Manor Haven Boulevard, who owns
          25   called spread of hours pay?                       25   that building?


                                                                                 13 (Pages 49 to 52)
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                                                  Page 53                                               Page 55
           1            M. GAMMELLA                              1            M. GAMMELLA
           2       A. 24 Manor Haven Incorporated. It's          2   Mr. Tizzano since June 3rd of 2022?
           3   the landlord.                                     3      A. This month?
           4       Q. Okay. Who owns 24 Manor Haven, the         4      Q. Yes. Since the beginning of June,
           5   company?                                          5   have you worked with Mr. Tizzano?
           6       A. I don't know. The landlord. I don't        6      A. Yes.
           7   know his last name. You want me to find out.      7      Q. And have you seen him maybe five
           8   I can't recall. It's a landlord. He is in         8   times a week in June?
           9   Jersey. Anthony, he is the owner which I          9      A. Four times a week and then I just
          10   believe in Port Washington, Anthony Saldano. I   10   came back because my father ill. I went away
          11   can look it up but -- the real owner of 24       11   and now he is away. But that day to this day,
          12   Manor Haven, I mean, I didn't investigate.       12   five, six times, seven times, yes.
          13   It's a fellow Joe Visco. Joseph Visco now that   13      Q. How many times have you spoken with
          14   I recall.                                        14   Mr. Tizzano since June 3rd of 2022?
          15       Q. Did Mr. Michael Tizzano ever work at      15      A. Multiple times. We work together.
          16   Rosso Uptown?                                    16   We also speak about a lot of issues.
          17       A. He was helping me with the menus. He      17      Q. Would you say it's more than ten
          18   was consulting basically. He was consulting      18   times?
          19   with other restaurants, other places as well.    19      A. I would say it's more, but plenty
          20   And he did help me out. He's been my friend      20   times -- five, six, seven, eight. I don't
          21   for many years. Menus, ideas but that's it.      21   recall. We work together. We talk all the
          22   Other than that, helped us sometime, you know,   22   time. I mean, we work together. We have a lot
          23   make changes in the menu and food.               23   of things we have to talk about.
          24       Q. How many years have you been friends?     24      Q. Were you aware that he testified on
          25       A. Fifteen years.                            25   June 3, 2022?

                                                  Page 54                                               Page 56
           1           M. GAMMELLA                               1           M. GAMMELLA
           2      Q. Do you get along?                           2      A. Of course.
           3      A. Pretty much.                                3      Q. Did he talk to you about his
           4      Q. How did you become friends?                 4   deposition before June 3rd of 2022?
           5      A. We just met here in New York. One of        5      A. He spoke to me about that he was
           6   my old -- used to own a bar in Manhasset, the     6   coming to a deposition, yes. We spoke. We
           7   Old Speakeasy Bar. Which we met there and that    7   knew both because we were on a judge conference
           8   was it.                                           8   call.
           9      Q. Have you been friends ever since?           9      Q. Tell me everything that you and Mr.
          10      A. Yes.                                       10   Tizzano spoke about before his deposition of
          11      Q. Do you celebrate birthdays together        11   June 3rd of '22 concerning the deposition.
          12   or family events together?                       12      A. Concerning the deposition, we not
          13      A. No. Not really. Sometimes we do            13   talk about. He was concerned about the
          14   celebrate birthday, me and him, have a drink.    14   deposition. Yes, he told me about it. We knew
          15   But family, no.                                  15   about it. Like I said, we knew about. Like I
          16      Q. Do you work together?                      16   said, we spoke with you and the judge. We have
          17      A. Yes, now we do.                            17   the deposition. But him in details talk to me
          18      Q. How often do you see Mr. Tizzano now?      18   about it, no.
          19      A. At least a few times a week or more.       19      Q. Okay. How about after he testified?
          20      Q. Has that been the same since June 3rd      20   After he testified did you ever ask him how it
          21   of 2022 that you have seen him?                  21   went?
          22      A. Yeah, even before. We always seen          22      A. Yes. I said, "How was the
          23   each other. We have been friends for over        23   deposition?" Yes.
          24   fifteen years.                                   24      Q. What did he say?
          25      Q. How many times per week have you seen      25      A. He said that it went fine. He said


                                                                                14 (Pages 53 to 56)
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                                                  Page 57                                                Page 59
           1            M. GAMMELLA                               1           M. GAMMELLA
           2   whatever, you know, truthfully he understood to    2   truth, whatever he answered he could possibly
           3   answer and that was it. He didn't go into          3   remember. And that was it.
           4   details on anything.                               4      Q. What's your cell phone number?
           5       Q. Did he say anything else to you or          5      A. (516)633-7977.
           6   you say anything else to him about his             6      Q. What is Mr. Tizzano's cell phone
           7   deposition after June 3rd of 2022?                 7   number?
           8       A. No. Because after that I went away          8      A. I don't remember.
           9   and he is away. But no, we didn't speak about      9      Q. Do you have it in your phone?
          10   it in details. No.                                10      A. Yes, because he changed it. He kept
          11       Q. Why not?                                   11   on changing it. Yes, of course. I called him
          12       A. Because there is nothing to talk           12   on the cell. Of course I have his phone
          13   about details. He spoke the truth about           13   number. Now it's (516)262-9972.
          14   whatever he was doing at my place at the time.    14      Q. When you communicate with Mr. Tizzano
          15   And he told, Massimo and that's what I know.      15   via text, do you do it through What's App, do
          16   That's it.                                        16   you do it through a text message?
          17       Q. Why wouldn't you ask him what kind of      17      A. Mostly What's App. And he is away
          18   questions he was asked?                           18   anyway.
          19       A. Because we already know what kind of       19      Q. Is there a separate What's App number
          20   questions. They want to ask about the records     20   or profile that you have?
          21   and everything else. He knew nothing about it.    21      A. No.
          22   He actually always tell me and he told the        22      Q. Is there any separate What's App
          23   judge that he doesn't know why he is getting      23   number or profile that he has?
          24   used. Whatever.                                   24      A. Not that I know of. Not with me.
          25       Q. So you never -- other than you asking      25      Q. Would you have any objection to us


                                                  Page 58                                                Page 60
           1            M. GAMMELLA                               1           M. GAMMELLA
           2   him how it went and him saying it's okay, I        2   looking at the text messages between you and
           3   testified honestly, he didn't say anything else    3   Mr. Tizzano after his deposition of June 3rd of
           4   you and you didn't say anything else to him        4   2022?
           5   about his testimony?                               5      A. Yes, I do. Even before. Before and
           6      A. No. No meaning -- yeah, we spoke             6   after there is a lot of personal things, a lot
           7   about it, how it went. You know, that's about      7   of things that don't concern anyone else.
           8   it. I mean, right now I spoke to him before.       8      Q. What personal things are in there
           9   He knows that I got to go to court. He is away     9   that you believe -- I don't want to know the
          10   actually. I say I'm going to go in and tell       10   specifics. What personal subjects are in there
          11   them whatever I know. And that's it. I never      11   that you believe should be protected?
          12   talked to him about it.                           12      A. Family, sexual preferences -- all
          13      Q. Tell me what you spoke about with           13   kinds of stuff that has nothing to do with
          14   him.                                              14   this. That's personal stuff. So I am not
          15      A. Nothing. That I have to go to               15   going to go there not that I want him to even
          16   conference. He remind me actually. Don't          16   ask.
          17   forget. I say yes, I'm on my way. And that        17      Q. Okay. But if you and him had
          18   was it. We work together. We've been friends      18   communicated by text message about his
          19   for almost twenty years.                          19   testimony --
          20      Q. About his testimony on June 3rd tell        20      A. We communicate every day almost.
          21   me everything that you said to each other about   21      Q. -- by text messages it would be in
          22   that testimony after it happened.                 22   the What's App message if, in fact, you did?
          23      A. There's not much to say. I told you.        23      A. Talk about what?
          24   We don't talk the details. He told me that he     24      Q. His testimony.
          25   came here, he spoke to you, he said all the       25      A. If I talked about his testimony then?


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                                                 Page 61                                               Page 63
           1            M. GAMMELLA                              1           M. GAMMELLA
           2   He was here at the time. So at the time I         2   It was not a Chase. They closed the bank.
           3   don't think we text. I think we spoke.            3   They closed the branch by us. It was a
           4       Q. Okay. And you haven't sent any text
                                                                 4   different bank. I'm sorry. I don't recall. I
                                                                 5   can get it for you. I can definitely get it
           5   message to him and he hasn't sent any text        6   for you.
           6   message to you about his testimony of June 3rd    7      Q. Was Mr. Tizzano ever a signatory on
           7   of 2022?                                          8   the Rosso Uptown bank account?
           8       A. Other than now, yesterday, no. We          9      A. No.
           9   text all the time, yes, all kinds of stuff,      10      Q. Was he ever a co-owner?
          10   yes.
                                                                11      A. No.
                                                                12           MR. MOSER: Is there anything
          11       Q. Yesterday what did you text about?        13      else you would like to add?
          12       A. Just that I was to go and he remind       14           MR. GAMMELLA: No.
          13   me because I am all over the place. I got a      15           MR. MOSER: Thank you so much
          14   lot going on. I told him yes, I know. As a       16      for your time. I appreciate it.
          15   matter of fact your secretary called me as       17          (Time noted: 11:20 a.m.)
          16   well. She said she couldn't find my e-mail       18
                                                                19
          17   address. It was wrong, which I don't think if    20               __________________
          18   it's possible. So I did ask him about what it                     MASSIMO GAMMELLA
          19   was. And he actually told me. And then I got     21
          20   in touch with your secretary and she told me          Subscribed and sworn to
          21   the address and the room. That's it.             22   before me this      day
          22       Q. Do you believe that Mr. Santos                 of          , 2022.
                                                                23
          23   Hernandez or Mr. Emanuel De Jesus Lievano have
                                                                24
          24   any valid claim against you or Rosso Uptown?          NOTARY PUBLIC
          25       A. No.                                       25

                                                 Page 62                                               Page 64
           1            M. GAMMELLA                              1
           2       Q. Can you please explain why not?            2            INDEX TO TESTIMONY
           3       A. Because at the time when we did            3
           4   work -- open and working, they did get paid       4   WITNESS        EXAMINATION BY          PAGE
           5   what they supposed to get paid. They never        5   M. Gammella    Mr. Moser  5
           6   told us otherwise. Even when we were about to     6
           7   close -- the other one left, Emanuel Lievano.     7
           8   He left way before. He never even told us why.    8             EXHIBITS
           9   He just left. We never heard again except when    9   PLAINTIFFS'             PAGE
          10   he show up at the other place. Mr. Hernandez,    10   Exhibit 21 One-page document 10
          11   he worked for us, like I said, longer. But he    11
          12   never -- was only dishwasher. He never told us   12
          13   any issues that he had with pay. And then we     13           REQUESTS FOR PRODUCTION
          14   end up closing because we lost everything        14   DESCRIPTION                    PAGE
          15   unfortunately. It's not like we were             15   An employment record of Mr.       47
          16   flourishing and we doing all this business and   16   Miquel Antonio Vasques with
          17   we not underpay these people. We actually        17   his signature to compare it to
          18   closed. I lost everything. This is not           18   the signature on Plaintiff's
          19   something that it was my plan. I lost            19   Exhibit 21
          20   literally everything including my house.         20
          21       Q. And when we talk about -- you said        21
          22   you had an account at Chase for Rosso Uptown.    22              INSERTS
          23   Where were your bank accounts for Pepe Rosso?    23   (None)
          24       A. Where were they? They were at --          24
          25   it's a small bank. One was Bank of America.      25


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                                                         Page 65
           1
           2               CERTIFICATE
           3
           4       I, ANNE SIMPSON, a shorthand reporter
           5     and Notary Public within and for the State
           6     of New York, do hereby certify:
           7       That the witness(es) whose testimony
           8     is hereinbefore set forth was duly sworn
           9     by me, and the foregoing transcript is a
          10     true record of the testimony given by such
          11     witness(es).
          12       I further certify that I am not
          13     related to any of the parties to this
          14     action by blood or marriage, and that I am
          15     in no way interested in the outcome of
          16     this matter.
          17
          18
          19                _________________________
          20                ANNE SIMPSON
          21
          22
          23
          24
          25

                                                         Page 66
           1   ERRATA SHEET FOR: MASSIMO GAMELLA
           2     MASSIMO GAMELLA, being duly sworn, deposes and
           3     says: I have reviewed the transcript of my
                 proceeding taken on 07/22/2022. The following
           4     changes are necessary to correct my testimony.
           5   ______________________________________________
           6   PAGE LINE CHANGE                            REASON
           7   ----|----|---------------------|--------------
           8   ----|----|---------------------|--------------
           9   ----|----|---------------------|--------------
          10   ----|----|---------------------|--------------
          11   ----|----|---------------------|--------------
          12   ----|----|---------------------|--------------
          13   ----|----|---------------------|--------------
          14   ----|----|---------------------|--------------
          15   ----|----|---------------------|--------------
          16   ----|----|---------------------|--------------
          17   ----|----|---------------------|--------------
          18   ----|----|---------------------|--------------
          19   ----|----|---------------------|--------------
          20   ----|----|---------------------|--------------
          21   ----|----|---------------------|--------------
          22         Witness Signature:_____________________
               Subscribed and sworn to, before me
          23   this ___ day of __________, 20 ___.
          24   ____________________ ___________________
          25   (NOTARY PUBLIC)                   MY COMMISSION EXPIRES


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          ability (1)          8:7,15 26:3     approximate... 31:8,10,16       24:24 32:23
          45:2                 29:6 34:16,17   40:23,24        32:15,21 33:2   birthday (1)
          able (2)             34:22,24        area (1)        33:6,14 34:5    54:14
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